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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 21-cr-628-ABJ
                                    :
v.                                  :
                                    :
MICHAEL ANGELO RILEY,                :
                                     :
            Defendant.               :
                                     :
____________________________________:

                                            ORDER

      Upon consideration of the Defendant’s Motion for New Trial, the Government’s

Opposition, and the Defendant’s Reply, and for good cause shown, it is this _____ day of

____________, 2022, ORDERED:

      1.     Defendant’s Motion for New Trial is Granted;

      2.     The parties shall appear for a status conference on this matter on

___________________ at _____.

SO ORDERED.

                                                       _____________________________
                                                       AMY BERMAN JACKSON,
                                                       United States District Judge
